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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION



MOTHER DOE, INDIVIDUALLY AND                        )       C/A No: 3:18-cv-02731-CMC
AS THE MOTHER AND NATURAL                           )
GUARDIAN FOR JANE DOE, A MINOR,                     )
                                                    )
                              Plaintiff,            )       ORDER OF DISMISSAL
                                                    )
                      vs.                           )
                                                    )
RICHLAND COUNTY SCHOOL DISTRICT 2,                  )
                                                    )
                              Defendant.            )
                                                    )

               This Court having been advised by counsel for the parties that the above action

has been settled,

               IT IS ORDERED that this action is hereby dismissed without costs and

without prejudice, and upon good cause shown within sixty (60) days, either party may

petition the Court to reopen the action if settlement is not consummated.




                                       s/Cameron McGowan Currie
                                      CAMERON McGOWAN CURRIE
                                      SENIOR UNITED STATES DISTRICT JUDGE




June 5, 2020
Columbia, South Carolina
